
Mr. Chief-Justice Waite
delivered the opinion of the court:
We agree entirely with the Court of Claims in its construction of the contracts sued upon in this case. By one contract Lobenstein was to have “all the hides of beef-cattle slaughtered for Indians at Camp Supply, * * * up to and including June 30,1870, which the superintendent of Indian affairs at that place shall decide are not required for the comfort of the Indians; the number of hides to be about two thousand, more or less.” The other contract is similar in its terms, for the hides of cattle slaughtered for Indians at Fort Sill, the number to be about four thousand, more or less.
The Commissioner of Indian Affairs directed that all the cattle should be turned over to the Indian agent on foot, and this was done. None were slaughtered by any person acting under the authority of the United States, but they were all given out from time to time to the Indians, by whom they were killed. Consequently no hides could be delivered under the contracts.
*180There was no obligation on the part of the United States to slaughter the cattle or any portion of them for the Indians, and they were only bound to deliver the hides of such as they did slaughter, in case the Commissioner of Indian Affairs did not decide that they were required for the comfort of the Indians. If he decided that all were required by the Indians, that excused the United States from delivery to Lobenstein. He did in effect so decide when he directed that the cattle should all be delivered on foot. Lobenstein took this risk when he entered into the contracts, and he undoubtedly made his calculations of profits in case of success accordingly. The best evidence of this is to be found in the fact that he claims in this action to recover more than $15,000 for alleged loss of profits, while he has actually expended in preparation to meet his obligations only $1,256.75.
The estimate of the number of hides as made in the contracts does not create an obligation on the part of the United States to deliver that number. That estimate was undoubtedly intended as a representation of the probable number of cattle that would be delivered to the Indians. In point of fact the number actually delivered was very much less. Neither party could determine how many would be reserved by the commissioner for the use of the Indians. Therefore, necessarily, when the contract was made, the number specified could not have been understood to be a guaranteed number. If that number or its approximation was not guaranteed, none was. It follows, as a consequence, that this claimant has no right of action. He took his risk, and insured himself in his anticipated large profits if his venture proved a success.
The judgment of the Court of Claims is affirmed.
